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NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


MICHELLE RAMIREZ,
                                                             Civil Action No. 14-01708
            Plaintiff,

                         v.                                    OPINION & ORDER

WORLD MISSION SOCIETY, CHURCH OF
                                                                 December 3, 2024
GOD, A NJ NONPROFIT CORPORATION, et
al.,

            Defendants.


SEMPER, District Judge.

       THIS MATTER comes before the Court on Defendants World Mission Society Church

of God New Jersey (“World Mission New Jersey”), Tara Whalen (“Byrne”), Richard Whalen

(“Whalen”), Dong Il Lee (“Pastor Lee”), Bong He Lee (“Bong Lee”), Victor Lozada (“Lozada”),

Albright Electric LLC, Lincoln Grill and & Café LLC, and Big Shine Worldwide, Inc.’s Rule 60(a)

Motion. (ECF 292.) Plaintiff Michelle Ramirez entered a letter on the docket with “no objection.”

(ECF 294.) The Court has decided this motion upon the submissions of the parties, without oral

argument, pursuant to Federal Rule of Civil Procedure 78 and Local Rule 78.1. For the reasons

stated below, Defendants’ Motion is DENIED.

       WHEREAS this action arises from Plaintiff Michelle Ramirez’s action against World

Mission New Jersey, World Mission Society Church of God South Korea (“World Mission South

Korea”), Gil Jah Chang (“Chang”), Joo Cheol Kim (“Kim”), Pastor Lee, Bong Lee, Byrne,

Whalen, Lozada, Big Shine Worldwide, Inc., Albright Electric LLC, and Lincoln Grill & Café

LLC. Plaintiff alleges that World Mission New Jersey, a not-for-profit corporation with its
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principal place of business in New Jersey, coerced her into joining the organization and

subsequently harmed her. (ECF 49, SAC ¶¶ 3-4, 7.) Plaintiff brought several claims against

Defendants. Count I is for fraud based on false representations regarding the donations being used

for charitable purposes. (Id. ¶¶ 78-104.) Counts II and III are for fraud based on nondisclosures

related to World Mission South Korea’s leadership and its use of the donated funds to maintain

“slave labor[ers].” (Id. ¶¶ 105-77.) Count IV is for intentional infliction of emotional distress. (Id.

¶¶ 178-87.) Count V is for negligence. (Id. ¶¶ 188-93.) Count VI is for vicarious liability against

Defendants Chang, Kim, Pastor Lee, Lee, Byrne, and Lozada. (Id. ¶¶ 194-95); and

       WHEREAS Defendants filed a motion for summary judgment on October 27, 2023. (ECF

271, MSJ.) Plaintiff filed her opposition on December 18, 2023. (ECF 277, Opp.) Defendants filed

a reply brief on January 2, 2024. (ECF 283, Reply.) The Court entered an Opinion and Order on

April 1, 2024 granting-in-part and denying-in-part Defendant’s motion for summary judgment.

(ECF 289, “April Opinion”; ECF 290 “Order.”) On June 3, Defendants’ filed their motion pursuant

to Rule 60(a). (ECF 292.) Plaintiff entered a letter in response. (ECF 294); and

       WHEREAS pursuant to Federal Rule of Civil Procedure 60(a), a court may on its own or

by motion “correct a clerical mistake or a mistake arising from oversight or omission whenever

one is found in a judgment, order, or other part of the record.” Fed. R. Civ. P. 60(a). Rule 60(a) is

intended only for “mindless and mechanistic mistakes, minor shifting of facts, and no new

additional legal perambulations.” Gutierrez v. Johnson & Johnson, 743 F. Supp. 2d 418, 422

(D.N.J. 2010) (quoting Pfizer Inc. v. Uprichard, 422 F.3d 124, 130 (3d Cir. 2005)). Clerical errors

and mistakes in copying or computation, not matters that affect parties’ substantive rights or

require legal research or deep-dives into facts, may be addressed under Rule 60(a). Id.; see also

Taylor v. Vineland Dev. Sch., 532 F. App’x 93, 94 n.2 (3d Cir. 2013) (finding that the district court




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was without authority to enter the orders because they impacted the parties’ rights and were

therefore outside the scope of Rule 60(a)); and

         WHEREAS Defendants request modification of the Court’s April 1 Order to change all

dismissals “without prejudice” to dismissals “with prejudice.” (ECF 292 at 3.) However, this

request goes beyond the scope of Rule 60(a). “The relevant test for the applicability of Rule 60(a)

is whether the change affects substantive rights of the parties and is therefore beyond the scope of

Rule 60(a) or is instead a clerical error, a copying or computational mistake, which is correctable

under the Rule.” Pfizer, 422 F.3d at 130. “It is only mindless and mechanistic mistakes, minor

shifting of facts, and no new additional legal perambulations which are reachable through Rule

60(a).” Id. Defendants are not asking for a minor correction of the order; they specifically seek to

modify “the finality of judgments entered . . .” (ECF 292 at 2.) This Court explicitly noted that the

sufficiency of the claims had not been previously assessed. (April Opinion at 7.) Accordingly, the

Court’s dismissals without prejudice were intentional. 1

         Accordingly, IT IS on this 3rd day of December, 2024,

         ORDERED that Defendant’s motion pursuant to Rule 60(a) (ECF 292) is hereby

DENIED.


         SO ORDERED.


                                                                          /s/ Jamel K. Semper
                                                                          HON. JAMEL K. SEMPER
                                                                          United States District Judge

Orig: Clerk
cc:   James B. Clark, U.S.M.J.
      Parties

         1
           Plaintiff may opt to seek leave to file an amended complaint pursuant to the Court’s April Opinion and
Order. Given Plaintiff’s response on the docket, the parties may also opt to file a joint stipulation to dismissing the
claims at issue “with prejudice” and proceed to trial on the remaining claims. (See ECF 294.)


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